Case 2:04-cv-02144-.]DB-dkv Document 24 Filed 07/06/05 Page 1 of 2 Page|D 31

 

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UNI'I`ED STATES DIS'I`RICT COURT win B¥
WESTERN DISTRICT OF TENNESSEE 05 JuL_ _6 PH w 15
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M. sTANLEY SHIPP, ) GMQSF '?,W§§;-TDO\RT
Plaintiff, ) W|[} -’.}¥} ii‘,i*§:}\ ‘§§\i`“i ms
)
vs. ) No. 04-2144 Bv
)
)
UNITED STATES OF AMERICA, )
Defendants. )

 

ORDER EXTENDING TIME TO RESPOND TO DEFENDANT’S MOTION TO
DISMISS OR IN THE ALTERNA'I`IVE, MOTION FOR SUMMARY JUDGMENT

 

Before the Court is Plaintiff’s Second Motion for Extension of Time to Respond
to Defendant’s Motion to Dismiss or in the Alternative, Motion for Sunnnary Judgnient.

Good cause having been shown, the Court hereby GRA|NTS the motion and extends the
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time to respond for an additional ten (10) days film July ’.SS: 2005. i\]O "Fmg\-*\~Ly§i‘nw`gv-Q-o \|"K-

ENTERED this I:(k day of July 2005. §

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S D sTRICT JUDGE \

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CV-02144 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

